     Case 2:23-cv-02224-SHL-atc            Document 451         Filed 07/16/25      Page 1 of 4
                                           PageID 6204


                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                                WESTERN DIVISION


    ROWVAUGHN WELLS,

                           Plaintiff,                  Case No. 2:23-cv-02224-SHL-ATC

           v.

    THE CITY OF MEMPHIS, et al.,

                           Defendants.


   PLAINTIFF’S MOTION FOR HEARING ON PLAINTIFF’S MOTION TO AMEND
                         SCHEDULING ORDER

       Pursuant to Local Rule 7.2(d), Plaintiff RowVaughn Wells, through her undersigned

counsel, submits this motion for a hearing on Plaintiff’s Motion to Amend the Scheduling Order

(ECF 447). None of the Defendants have objected to the Court holding a hearing on ECF 447,

though the City objects to setting it for the status conference that is currently scheduled for July

23. In support of this Motion, Plaintiff states as follows.

       Plaintiff requests a hearing on her Motion to Amend the Scheduling Order because the

motion—which all Defendants oppose—concerns discovery and case management issues that are

pivotal to this litigation and to ensuring that it proceeds fairly toward trial. These issues include:

whether Plaintiff will have adequate time to complete her Monell discovery, in the face of

months of obstruction by the City of Memphis; whether Plaintiff will have an opportunity to take

discovery concerning Defendants’ affirmative defenses (which have not yet been pled); whether

Plaintiff will have an opportunity to take discovery from the criminally convicted officer

defendants (for whom this case is currently stayed); and whether Plaintiff will have an

opportunity to take Monell discovery from the City’s final policymaker for the police policies


                                                   1
       Case 2:23-cv-02224-SHL-atc            Document 451       Filed 07/16/25      Page 2 of 4
                                             PageID 6205



and practices that led to Mr. Nichols’ death (Memphis Police Department Chief Cerelyn Davis,

who has moved for a protective order from Plaintiff gathering discovery from her to prove her

Monell case against the City). See generally ECF 447. In short, this is no routine extension

motion. It will determine Plaintiff’s very ability to gather evidence, central to her claims,

which—through no fault of hers—remains outstanding.

          Additionally, a hearing will aid the Court in deciding Plaintiff’s scheduling motion

because that motion intersects with a number of other motions that are currently pending. These

include: Plaintiff’s Motion to Schedule Defense Pleading of Affirmative Defenses (ECF 293);

Chief Davis’s Motion for Protective Order (ECF 348); Chief Davis’s Motion to Quash Subpoena

(ECF 409); and Plaintiff’s Motion to Lift Stay on Proceedings (ECF 426). Neither the scheduling

motion nor these other pending motions can be decided in isolation. For example, the Court’s

decision on whether and when to lift the Fifth Amendment stay as to the convicted officer

defendants directly impacts the discovery schedule. So too does the Court’s decision on whether

to permit Plaintiff to take Monell discovery from Chief Davis, and whether to require Defendants

to promptly plead their affirmative defenses. Plaintiff respectfully submits that oral argument

will assist the Court in resolving these intersecting, contested issues.

          Because her scheduling motion overlaps with many other pending motions, Plaintiff

submits that it would be most helpful and efficient to discuss these matters together, at a single

hearing, after Defendants have filed their responses to Plaintiff’s scheduling motion1 (and after

any reply by Plaintiff), as explained in Plaintiff’s earlier filing, see ECF 448 at 2-3. This will

enable the Court to have complete briefing and a consolidated argument on the various

interrelated issues before the Court.



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    Defendants’ responses are due July 25.

                                                   2
    Case 2:23-cv-02224-SHL-atc         Document 451        Filed 07/16/25       Page 3 of 4
                                       PageID 6206



       WHEREFORE, for the foregoing reasons, Plaintiff respectfully requests that the Court

set Plaintiff’s Motion to Amend the Scheduling Order (ECF 447) for a hearing.

Dated: July 16, 2025                       Respectfully submitted,

                                           /s/ Joshua M. Levin
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                                              3
     Case 2:23-cv-02224-SHL-atc           Document 451        Filed 07/16/25        Page 4 of 4
                                          PageID 6207



                             CERTIFICATE OF CONSULTATION

       From July 14 to July 16, 2025, Plaintiff conferred via e-mail with all Defendants regarding

the relief requested in this motion. The parties have been unable to reach an accord as to all relief

requested. While the City did not object to Plaintiff’s request for a hearing on ECF 447 generally,

it did object to setting ECF 447 for the upcoming status conference. The remaining defendants

have not responded regarding the relief sought in this motion as of this filing.



                                                              /s/ Joshua M. Levin




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